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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA                                 CR. NO. 12-75 (KSH)
                                                                      (O l
               VS.                                        ORDER FOR INTERIM PAYMENT FOR
                                                          REPRESENTATION OF COUNSEL
 HYON-SUK CHUNG                                           PURSUANT TO THE CRIMINAL
                                                          JUSTICE ACT 18:3006(A)




    Because of the complexity of the case, the expected length of pretrial preparation, the length


 of the trial, and the anticipated hardship of counsel in undertaking representation full-time for


 such a period without compensation, in accordance with section 230.73.10 of the Guidelines for


 the Administration of the Criminal Justice Act, the following procedures for interim payments


 shall apply during the coUrse of your representation in this case:


                                 1. SUBMISSION OF VOUCHERS


    Counsel shall submit to the Court Clerk, once each month, an interim CJA Form 20


 "Appointment of and Authority to Pay Court Appoil1ted Counser : . Compensation earned and


 reimbursable expenses incurred from the first to the last day of each month shall be claimed on


 an interim voucher submitted no later than the fifth day of the following month, or in the first


 business day thereafter. The first interim voucher submitted shall reflect all compensation


. claimed andreimbursable expenses incurred from the date of appointment to        S           6tr11,/\
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0\  ) 2013 'and shall be submitted no -later than , '
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 vouchers shall be submitted once each month according to the schedule outlined above. Each


 voucher shall be numbered in series in Box 22 and include the time period it covers in Box 19.



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 All interim vouchers shall be supported by detailed and itemized time and expense statements.


 Chapter 2, Part C of the Guidelines for the Administration of the Criminal Justice Act outlines


 the procedures and rules for claims by CJA attorneys and should be followed regarding each


 voucher.


    The Court will review the interim vouchers when submitted, particularly with regard to the


 amount of time claimed, and will authorize compensation to be paid for four-fifths (80%) of the


 approved number of hours. The Court will also authorize payment for all reimbursable expenses


 reasonably incurred.


    At the conclusion of representation, counsel should submit a final voucher seeking payment of


 the one-fifth (20%) balance withheld from the earlier interim vouchers. The final voucher shall


 be labeled as such in Box 22 and shall set forth in detail the time and expenses claimed for the


 entire case, including all appropriate documentation. After reviewing the final voucher, the


.Court will submit it to the Chief Judge of the Circuit or his or her designee for review and


 approval.


                               2. REIMBURSABLE EXPENSES


    Counsel may be reimbursed for out-of-pocket expenses reasonably incurred incident to


 representation. While the statute and applicable rules and regulations do I).otplace a monetary


 limit on the amount of expenses that can be incurred, counsel should incur no single expense


 item in excess of $800 without PRIOR approval of the Court. Such approval may be sought by


 submitting the CJA 21 to the Clerk with supporting documentation attached if deemed necessary,


 stating the nature of the expense, the estimated dollar cost and the reason the expense is


 necessary to the representation. An application seeking such approval may be filed in camera, if


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 necessary. Upon finding that the expense is reasonable, the Court will authorize counsel to incur


 it. Recurring expenses, such as telephone calls, photocopying and photographs, which aggregate


 more than $800 on one or more interim vouchers are not considered single expenses requiring


 Court approval.


    With respect to travel outside of the city-county-state for the purpose of consulting with the


 client or his or her former counsel, interviewing witnesses, etc., the $800 rule should be applied


 in the following manner. Travel expenses, such as, mileage, parking fees, meals and lodging, can


 be claimed as itemized expenses. Therefore, if the reimbursement for expenses relating to a


 single trip will aggregate an amount in excess of $800, the travel should receive PRIOR


 authorization of the Court.   The following additional guidelines may be helpful:


    (a) Case related travel by privately owned automobile should be claimed per mile at the


 applicable rate (check with the Clerk's office for current rates) , plus parking fees, ferry fees,


 and bridge, road and tunnel tolls. Transportation other than by privately owned automobile


 should be claimed on an actual expense basis. If travel is authorized, arrangements can be made


 at Government rates through National Travel Service. Please contact the C).A. administrator in


 the Clerk's office for additional guidance. Air travel in "first class" is prohibited.


    (b) Actual expenses incurred for meals and lodging while traveling during the course of


 representation must conform to the prevailing limitations placed upon travel and subsistence


 expenses of federal judiciary employees in accordance with existing government travel


regulations. For specific details concerning high-cost areas, counsel should consult the Clerk.


    (c) Telephone toll calls, telegrams, photocopying and photographs can all be reimbursable


 expenses if reasonably incurred. However, general office overhead, such as rent,



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     secretarial help and telephone service, is not a reimbursable expense, nor are items of a personal


     nature. In addition, expenses for services of subpoenas on fact witnesses are not reimbursable,


     but rather are governed by Rule 17 F.R.Crim.P. and 28 U.S.C.§1825.




                               3. FURTHER QUESTIONS OR GUIDANCE


         Answers to questions concerning services under the Criminal Justice Act. can generally be


      found in (1) 18 U.S.C. 3006(A); (2) the Plan of the United States District Court for the District of


      New Jersey; (3) Appendix I to the Criminal Justice Act Plan; and (4) Guidelines for the


      Administration of the Criminal Justice Act, published by the Administrative Office of the U.S.


     Courts. Should these references fail to provide the desired clarification or direction, counsel is


     directed to contact the Clerk's office, specifically, Anna Irwin, CJA Administrator at


     (609) 989-2398 in Trenton.




                                                APPROVED



      DATE:      /- /<)'- 2-D f;S                  -;:K _IV
                                                    THOMAS 1. V ANASKIE, JUDGE
                                                    UNITED STATES COURT OF APPEALS
                                                    FOR THE THIRD CIRCUIT



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